        Case 1:22-cv-00983-VEC Document 231 Filed 11/29/23 Page 1 of 6
                             Debevoise & Plimpton LLP   Megan K. Bannigan
                             66 Hudson Boulevard        Partner
                             New York, NY 10001         mkbannigan@debevoise.com
                             +1 212 909 6000            +1 212 909 4879




November 29, 2023

BY ECF

Hon. Valerie E. Caproni
United States District Court for the Southern District of New York
40 Foley Square, Room 443
New York, New York 10007
                   Nike, Inc. v. StockX LLC, No. 22 CV 983 (VC) (SN)

Dear Judge Caproni:

         Pursuant to the Court’s November 19, 2023 Order (ECF No. 228), Defendant
StockX LLC (“StockX”) respectfully requests to seal limited portions of the parties’ replies
to their respective Daubert motions to preclude proffered expert testimony (the “Daubert
Replies”; ECF Nos. 223-226), which include StockX’s non-public financial data and
additional competitively sensitive information such as StockX’s value proposition and
positioning in the marketplace. StockX’s proposed redactions are consistent with StockX’s
prior motions to seal portions of the parties’ motions to preclude expert testimony (ECF
Nos. 205, 215), and Plaintiff Nike, Inc. (“Nike”), does not oppose StockX’s requests.
Specifically, StockX seeks:

              To apply a single, narrowly-tailored redaction to StockX’s reply brief (ECF
               No. 223), and

              To apply limited, narrowly-tailored redactions to Nike’s reply brief (ECF No.
               224).

   StockX is filing under seal concurrently with this letter motion a copy of its reply brief
with highlighting showing both parties’ proposed redactions, as well as version of the Ford
Declaration and the associated Exhibits A-E, showing Nike’s proposed redactions. See also
Appendix A (identifying the portions of the Daubert Replies that StockX is seeking to seal
in their entirety and to narrowly redact).

        Although there is a presumption of public access to judicial documents, Brown v.
Maxwell, 929 F.3d 41, 49 (2d Cir. 2019), courts must “balance competing considerations
against” that presumption, Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 120 (2d Cir.
2006) (citation omitted). For filings submitted in connection with non-dispositive motions
such as the parties’ Daubert motions, the presumption of public access is “generally
somewhat lower than the presumption applied to material introduced at trial, or in
connection with dispositive motions such as motions for dismissal or summary judgment.”
Brown, 929 F.3d at 50. The protection of a party’s confidential or competitively sensitive
business information may outweigh the presumption of public access. See, e.g., Mahood v.
          Case 1:22-cv-00983-VEC Document 231 Filed 11/29/23 Page 2 of 6




Noom, No. 20 CV 3677, 2021 WL 214299, at *2 (S.D.N.Y. Jan. 20, 2021) (approving
redaction of “confidential, competitively-sensitive” usage and revenue data and collecting
cases); see also United States v. Amodeo, 71 F.3d 1044, 1051 (2d Cir. 1995) (explaining that
these interests establish a “venerable common law exception to the presumption of access”).

     I.    StockX’s Proposed Redactions to the Daubert Motions

           A.     Certain Nonpublic StockX Financial Data

        StockX seeks to redact only a single sales figure from footnote 4 on page 2 of
StockX’s Daubert Reply (ECF No. 223). This is a highly-confidential sales figure from
StockX’s non-public audited financial statements, and StockX’s proposed redaction leaves
the substance of the footnote and brief undisturbed. StockX’s singular redaction in this
category should be granted for three reasons.

        First, as a private company, StockX’s financial statements have not previously been
publicly released. Courts have held that the sensitivity of such data can outweigh any
presumption of public access. See Mahood, 2021 WL 214299 at *2 (granting motion to seal
a private company’s revenue and financial information); Syntel Sterling Best Shores
Mauritius Ltd. v. TriZetto Grp., No. 15 CV 211, 2021 WL 1541385, at *3 (S.D.N.Y. Apr.
20, 2021) (granting motion to redact “confidential … accounting and financial
information”); Valassis Commc’ns, Inc. v. News Corp., No. 17 CV 7378, 2020 WL
2190708, at *3-4 (S.D.N.Y. May 5, 2020) (permitting redaction of “financial metrics (such
as pricing, costs, revenue, and profits)” and “business information of its active business
units, such as … financial metrics”).

        Second, public disclosure of this information would be highly detrimental because it
would reveal information about StockX’s financial condition, and courts routinely grant
requests to seal such sensitive financial data. See Standard Inv. Chartered, Inc. v. Fin.
Indus. Reg. Auth., 347 F. App’x 615, 617 (2d Cir. 2009) (finding that presumption of public
access was overcome when disclosure would subject a party to financial harm and cause
significant competitive disadvantage); Kewazinga Corp. v. Microsoft Corp., No. 18 CV
4500, 2021 WL 1222122, at *6 (S.D.N.Y. Mar. 31, 2021) (permitting redactions of “details
of Microsoft’s sources of revenue and the amounts of its revenue and sales” and “specific
revenue amounts from certain offerings”).

       Third, courts regularly approve such narrowly-tailored redactions of such highly
confidential financial information, particularly with respect to private companies. See, e.g.,
Louis Vuitton Malletier S.A. v. Sunny Merch. Corp., 97 F. Supp. 3d 485, 511 (S.D.N.Y.
2015) (granting motion to redact “specific business information and strategies, which, if
revealed, ‘may provide valuable insights into a company’s current business practices that a
competitor would seek to exploit,’” (internal citation omitted)); Playtex Prods., LLC v.
Munchkin, Inc., No. 14 CV 1308, 2016 WL 1276450, at *11 (S.D.N.Y. Mar. 29, 2016)

                                                2
        Case 1:22-cv-00983-VEC Document 231 Filed 11/29/23 Page 3 of 6




(granting request to seal documents concerning sales and revenue because “Plaintiffs would
be competitively harmed if they were revealed”).

          B.      Certain Nonpublic Competitively Sensitive Information about
                  StockX’s Business Strategy & Commercial Interests

        StockX also seeks to seal limited information concerning its confidential business
relationships and commercial strategies, including witness testimony on StockX’s highly
confidential and proprietary authentication process, and information regarding an internal
analysis of sales data from a StockX competitor. To protect this information, StockX seeks
to apply limited, narrowly tailored redactions to Nike’s reply brief (ECF No. 224).

        StockX requests to seal highly confidential and commercially sensitive information
about StockX’s business strategy and authentication processes. StockX has proposed
redactions judiciously and only to StockX’s most highly confidential, commercially
sensitive information. Public disclosure of this information would put StockX at a distinct
competitive disadvantage. For example, disclosure of StockX’s value proposition and
positioning in the marketplace would allow competing marketplaces to unfairly leverage that
information to undermine StockX’s initiatives. Amodeo, 71 F.3d at 1051 (“Commercial
competitors seeking an advantage over rivals need not be indulged in the name of
monitoring the courts . . . .”); PharmacyChecker.com LLC v. Nat'l Ass'n of Boards of
Pharmacy, No. 19 CV 07577, 2022 WL 4956050, at *2 (S.D.N.Y. Aug. 26, 2022) (“Records
which would aid ‘commercial competitors “seeking an advantage over rivals” are among
those documents the confidentiality of which may outweigh the public’s presumption of
access.’”).

        In addition, sensitive information regarding an internal analysis of sales data from
StockX and a StockX competitor reflects “confidential research, internal business
documents and information about a business’s operation” that courts consistently find are
the “proper subject of sealing.” PharmacyChecker.com, 2022 WL 4956050 at *2; see also
City of Providence v. BATS Glob. Markets, Inc., No. 14 CV 2811, 2022 WL 539438, at *3
(S.D.N.Y. Feb. 23, 2022) (sealing an internal presentation containing “peer comparison
analyses and information on [] market data strategy, initiatives, and revenue potential going
forward” because disclosure of such information could cause “significant” harm to
defendant’s competitive standing).

        Courts in this district routinely determine that the disclosure of a party’s confidential
or competitively sensitive business information is not required and the interest in
maintaining confidentiality over such information outweighs any presumption of public
access. See Louis Vuitton Malletier, 97 F. Supp. 3d at 511; Playtex Prods., 2016 WL
1276450 at *11. Here, StockX’s interest in protecting this limited amount of competitively
sensitive business information outweighs the presumption of public access and sealing is
appropriate under these circumstances. StockX accordingly requests that the Court approve

                                                 3
        Case 1:22-cv-00983-VEC Document 231 Filed 11/29/23 Page 4 of 6




its proposed redactions.

Respectfully submitted,

/s/ Megan K. Bannigan
Megan K. Bannigan
David H. Bernstein
Jyotin Hamid
Justin C. Ferrone
Kathryn C. Saba
Debevoise & Plimpton LLP
66 Hudson Boulevard
New York, New York, 10001
Telephone: (212) 909-6000

Christopher S. Ford
Debevoise & Plimpton LLP
650 California Street
San Francisco, CA 94108
Telephone: (415) 738-5700

David Mayberry
Rob Potter
Kilpatrick Townsend & Stockton LLP
1114 Avenue of the Americas
New York, New York 10036
Telephone: (212) 775-8733

Jeffrey B. Morganroth
Morganroth & Morganroth, PLLC
344 N. Old Woodward Ave, #200
Birmingham, MI 48075
Telephone: (248) 864-4001

Attorneys for Defendant StockX LLC


cc        All counsel of record (via ECF)




                                            4
      Case 1:22-cv-00983-VEC Document 231 Filed 11/29/23 Page 5 of 6




                                    Appendix A

           Proposed Confidential Treatment of the Parties’ Reply Filings




Document      Filing Name                                 Proposed Confidential
ECF No.                                                   Treatment


223           StockX’s Reply Memorandum of Law in         StockX and Nike
              Support of StockX’s Motion to Exclude       Proposed Redactions
              the Testimony of John Hansen, Jeffrey
              Stec, Kari Kammel, Steven McNew, and
              Itamar Simonson


226           Declaration of Christopher S. Ford          None


226-1         Ford Declaration Exhibit A: Nike’s Fourth   Nike Proposed
              Amended Initial Disclosures                 Redactions


226-2         Ford Declaration Exhibit B: Kammel          Nike Proposed
              Deposition Transcript Excerpts              Redactions


226-3         Ford Declaration Exhibit C: Delli Carpini   Nike Proposed
              Deposition Transcript Excerpts              Redactions


226-4         Ford Declaration Exhibit D: StockX’s        None
              Fourth Set of Interrogatories


226-5         Ford Declaration Exhibit E: Simonson        None
              Deposition Transcript Excerpt


224           Nike’s Reply Memorandum of Law in           StockX Proposed
              Support of Nike’s Motion to Exclude the     Redactions
              Testimony of Sarah Butler, Robert Vigil,


                                         5
      Case 1:22-cv-00983-VEC Document 231 Filed 11/29/23 Page 6 of 6




Document      Filing Name                               Proposed Confidential
ECF No.                                                 Treatment

              and DeJongh Wells


225           Declaration of Tamar Y. Duvdevani         None


225-1         Duvdevani Declaration Exhibit 1: Butler   None
              Deposition Testimony Excerpts in Golo,
              LLC v. Goli Nutrition Inc.




                                         6
